        Case 1:21-cr-00117-RCL Document 217 Filed 03/07/23 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA :
                         :
    v.                   :                    CRIMINAL NO. 21-CR-117 (RCL)
                         :
                         :
ALEX HARKRIDER           :


                 Notice of Intent to Introduce Expert Evidence

      COMES NOW Defendant Alex Harkrider by his counsel, Kira

Anne West, and hereby files this notice of intent to introduce expert witness

testimony relating to use of force, security protocols and crowd control techniques

used by law enforcement, specifically The Metropolitan Police Department and

The United States Capitol Police, on January 6, 2021. This notice is filed pursuant

to Fed. Crim. P. 16 (b)(1)(C). A curriculum vitae of the proposed expert was sent

to the government via email on March 7, 2023.

                                     Respectfully submitted,

                                           /s/ _______
                                       Kira Anne West
                                       DC Bar No. 9993523
                                       712 H. Street N.E., Unit 509
                                       Washington, D.C. 20002
                                       202-236-2042
                                       kiraannewest@gmail.com
                                       Attorney for Alex Harkrider




                                          1
       Case 1:21-cr-00117-RCL Document 217 Filed 03/07/23 Page 2 of 2




                                Certificate of Service

I certify that a copy of the forgoing was filed electronically for all parties of record
                            on this 7th day of March, 2023.
                                  ____/s/__________
                                    Kira Anne West
                              Attorney for Alex Harkrider




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